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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

       Plaintiff,

                   v.                           CRIMINAL NO. 09-228 (FAB)

CARLOS APONTE-SOBRADO [2],
JOSE VIZCARRONDO-CASANOVA [6],
ERIK DIAZ-COLON [11],

       Defendants.


                           MEMORANDUM AND ORDER

BESOSA, District Judge.

      On September 19, 2011, a jury found Carlos Aponte-Sobrado

(“Aponte”), Jose Vizcarrondo-Casanova (“Vizcarrondo”), and Erick

Diaz-Colon      (“Diaz”)   (together,      “defendants”),           guilty    of     the

following    offenses:          (1)   conspiracy     to   commit      the    crime   of

carjacking, (2) conspiracy to deprive victim of his rights secured

by the Constitution or laws of the United States, and (3) actual

deprivation of victim’s rights secured by the Constitution or laws

of the United States.           (Docket No. 729.)         Defendants Aponte and

Vizcarrondo were also found guilty of the crime of carjacking. Id.

On   November    14,    2011,    defendant   Diaz      moved    for    judgment      of

acquittal and/or a new trial pursuant to Federal Rules of Criminal

Procedure 29 and 33.            (Docket No. 754.)         Defendants Aponte and

Vizcarrondo filed a motion to adopt defendant Diaz-Colon’s motion.

(Docket No. 755.)          The Court granted the motion for joinder.
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(Docket No. 756.)          On December 14, 2011, the government filed a

response to defendants’ motion.                (Docket No. 779.)

                                       DISCUSSION

     A court may enter a judgment of acquittal of any offense for

which    the    evidence    is   insufficient        to       sustain   a   conviction.

Fed.R.Crim.P. 29(a). A defendant may move the court for a judgment

of acquittal after the close of the government’s case or at the

close of all evidence.           Id.    Courts may reserve their decision on

the motion, submit the case to the jury, and decide upon the motion

before     or    after     the    jury     returns        a    verdict      of   guilty.

Fed.R.Crim.P. 29(b).

     In reviewing a motion for judgment of acquittal, courts must

consider       the   evidence    “in     the    light     most    favorable      to    the

prosecution” and determine whether the “body of proof, as a whole,

has sufficient bite to ground a reasoned conclusion that the

government proved each of the elements of the charged crime beyond

a reasonable doubt.”         U.S. v. Lara, 181 F.3d 183, 200 (1st Cir.

1999) (citations omitted).             This standard requires the resolution

of all evidentiary disputes and credibility questions in favor of

the government; the Court must also draw all reasonable inferences

in favor of the government’s case.                Id.     Thus, the jury’s verdict

stands unless the evidence could not have persuaded a rational

trier of fact of the defendants’ guilt beyond a reasonable doubt.

U.S. v. Soler, 275 F.3d 146, 153 (1st Cir. 2002) (citing Lara, 181
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F.3d at 200).      The Court assesses only the evidence admitted at

trial in applying the sufficiency standard. United States v. Diaz,

300 F.3d 66, 77 (1st Cir. 2002).

     Defendants allege the following: (1) the government failed to

establish a violation of Count 5, 18 U.S.C. § 241; (2) the Court

failed to instruct the jury properly on the need for a finding of

state   action    to   convict    the    defendants      of   Count    5;   (3)    the

government inappropriately vouched for the credibility of its

witnesses    in   their   closing       rebuttal     arguments;       and   (4)    the

government    disparaged      the       defense’s    case     by    referring        to

information not on the record.             Defendant Diaz-Colon adopts and

reiterates the motion for judgment of acquittal made at the close

of the government’s case.          The Court considers all the arguments

made and addresses each in turn.

A.   The Government Established A Violation of Count 5

     Defendants were convicted of violating 18 U.S.C. § 241, which

makes it an offense for “two or more persons [to] conspire to

injure, oppress, threaten, or intimidate any person in any State,

Territory,   Commonwealth,        Possession,       or   District     in    the    free

exercise or enjoyment of any right or privilege secured to him by

the Constitution or laws of the United States, or because of his

having so exercised the same.”             The right or privilege at issue

here was the victim’s right to be free from unreasonable searches

and seizures under the Fourth Amendment of the Constitution.
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Defendants maintain that “a private individual cannot violate a

person’s right to be free from unreasonable searches and seizures.”

(Docket No. 754 at 3.)       Defendants further contend that there was

no “meaningful” participation of a state actor and that defendants

were not “made aware” of the decision to incorporate a police

officer and his partner into the team that would stop and search

the victim.     (Docket No. 754 at 5-6.)

     The Supreme Court’s decision in United States v. Price is

controlling.     383 U.S. 787 (1966).        The Supreme Court held that

private individuals, acting jointly with state officials, can be

held liable for violations of section 241 where “defendants acted

‘under color of law’ and [] the conspiracy included action by the

State through its law enforcement officers” to deprive the victim

of his rights under the Constitution or the laws of the United

States.   See Price, 383 U.S. at 799.               While defendants were

undisputably not state officials, they engaged in a conspiracy with

a police officer from the Police of Puerto Rico to deprive the

victim of his rights under the Fourth Amendment.               The defendants’

knowing   and    willing     participation     in    the       conspiracy      was

demonstrated by evidence presented at trial.

     Contrary to defendant Diaz’s allegation that “[t]here was no

evidence that Mr. Diaz Colon was made aware of [the] decision to

incorporate [Officer] Hernandez and his partner to the team”, co-

defendant Rosario testified at trial regarding being approached by
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defendant Diaz about stealing drugs from the victim. Specifically,

co-defendant Rosario stated that El Gallo (a/k/a Erik Diaz-Colon)

stated the following:      “So its got to be a real intervention. He’s

got to believe that it’s going to happen.             You got to have the

blinkers, you got have the uniforms.          Its got to be for real so he

gets stopped.      If not, he’s going to know it came by me, because

word is out that I use cops to do these kind of jobs.”                   (Docket

No. 661 at 42.)       There is no doubt that defendant Diaz was a

willing and knowing participant in the conspiracy to conduct an

illegal search and seizure on the victim.                  Moreover, as the

government points out in its opposition to defendants’ motion, even

if it is true that Diaz did not specifically know that co-defendant

Hernandez (the police officer) would be involved in the conspiracy,

“the law does not require that defendant Diaz know every other

member of the conspiracy, including the State actor.”                    (Docket

No. 779 at 7.)     See Blumenthal v. United States, 332 U.S. 539, 557

(1947)   (noting    that     because   “[s]ecrecy    and       concealment      are

essential features of a successful conspiracy”, the law only

requires “showing sufficiently the essential nature of the plan and

[defendants’] connection with it, without requiring evidence of all

its details or of the participation of others.”)

     The knowing and willing participation of defendants Aponte and

Vizcarrondo in the conspiracy was even more evident from the

evidence produced at trial.       Co-defendants Hernandez, Herrera, and
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Rosario all testified that defendants Aponte and Vizcarrondo were

present at the meeting in Plaza Encantada, where they met just

hours before the illegal car stop and discussed the details of the

scheme, which included the use of co-defendant Hernandez and his

police vehicle.       (Docket Nos. 610 at 75-80; 614 at 86-88; 661

at 56-58.)    Both defendants Aponte and Vizcarrondo were present

during the illegal car stop, where they witnessed the use of co-

defendant    Hernandez’s police      vehicle    during    the        intervention.

(Docket No. 614 at 101-105.)        The evidence at trial demonstrates

that there was sufficient evidence to find defendants Diaz, Aponte

and Vizcarrondo guilty of conspiring to “injure, oppress, threaten,

or intimidate” the victim “in the free exercise or enjoyment” of

his rights under the Fourth Amendment.              Defendants’ motion for

judgment of acquittal on their section 241 conviction is DENIED.

B.   The Court’s Jury Instructions Regarding Count 5 Were Proper

     The defendants next request that the conviction on Count 5 be

vacated because the jury was not appropriately instructed as to

“the need for a finding of state action in order to convict the

defendants    under   §241.”      (Docket     No.   754   at    6.)       Notably,

defendants fail to cite to a single case in support of their

argument.     In   fact,   the   First   Circuit     Court      of    Appeals   has

previously held that there was no plain error where a court’s

instructions regarding section 241 omitted “any instruction as to

the requirement of ‘color of law’ or state action.”                  United States
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v. Lebron-Gonzalez, 816 F.2d 823, 829 (1st Cir. 1987) (finding no

plain error in the instructions “as a whole” where “in describing

the liberty right at stake in [] the section 242 violation of

actual deprivation, the court made clear that the right was to be

free of physical assault ‘by a person acting under the color of law

of any state.’”) The Court’s instructions to the jury regarding

Count 5 reference the “color of law” requirement twice, and also

explicitly      mention   that     requirement    several       times    in    the

section 242 instruction.          See Docket No. 727 at 40, 43, 49-56.

Thus, the jury instructions were proper and defendants’ request to

vacate their conviction on Count 5 is DENIED.

C.   The Government Did Not Engage in Improper Witness Vouching

     The defendants finally assert that prosecutorial misconduct

during   the    government’s     rebuttal     argument   warrants       that   the

defendants’ convictions be vacated.           (Docket No. 754 at 6-9.)         The

government counters that their rebuttal arguments were in direct

response   to    the   defendants’     closing    arguments     and     that   the

government’s comments were based on facts brought out at trial and

already before the jury.         (Docket No. 779 at 8-15.)       The Court has

conducted an independent review of the record, and addresses the

defendants’ allegations below.

     “Improper vouching occurs when the government ‘places the

prestige of the United States behind a witness by making personal

assurances about the credibility of a witness,’ . . . or implies
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‘that the jury should credit the government’s evidence simply

because the government can be trusted.” United States v. Robinson,

473 F.3d 387, 396 (1st Cir. 2007) (citations omitted). An argument

by a prosecutor, however, that “does no more than assert reasons

why a witness ought to be accepted as truthful by the jury is not

improper witness vouching.”     United States v. Perez-Ruiz, 353 F.3d

1, 9-10 (1st Cir. 2003) (citing United States v. Rodriguez, 215

F.3d 110, 123 (1st Cir. 2000)). The First Circuit Court of Appeals

in Perez-Ruiz also stated that statements by a prosecutor that are

“a logical counter to the assertions of defense counsel, made in

summation, that various government witnesses had fabricated their

testimony ” are not necessarily considered to be vouching.            Perez-

Ruiz, 353 F.3d at 10.

     The language in the government’s rebuttal argument at issue

consists of the following statements:

     MR. CONTRERAS: But let me tell you something else. They
     know (indicating) if they do not tell the truth they’re
     not going to jail for 30 years, they’re going to jail for
     life. Forever, no possibility of parole, do not collect
     $200. Life. That’s not an incentive to lie, that’s an
     incentive to tell the truth.       And every cooperator
     testified, even Alexis who’s free on bond, said that.
     Life. Forever. You miss one step on that witness stand,
     life. You think the Government, these prosecutors, are
     going to file a motion for downward departure if –

     MR. MIRANDA:   Objection, Your Honor.           He’s vouching.
     He’s vouching.

     MR. CONTRERAS:    I said “the Government,” Your Honor.
     I’ll withdraw the comment “these prosecutors.”      That
     comment’s withdrawn.    Do you think the Government is
     going to file a motion for downward departure if there's
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     a scintilla of evidence that these witnesses have not
     told the truth? Have not testified –

     MR. MIRANDA:    Your Honor, that’s vouching.

     MR. CONTRERAS: I withdraw “not tell the truth.” Have
     not testified untruthfully? It’s not going to happen.
     It is not going to happen. And let me tell you something
     about all this to-do about inconsistent statements. That
     actually shows they were credible. The Government could
     have put -- they could have put all the cooperators in a
     room and say: Let’s get this story straight. Work it
     out. You guys, all five of you, get in that room and you
     come out with a story that’s consistent. I don’t want
     you leaving that room until the story’s consistent so the
     jury knows you’re telling the truth.

     . . .

     He has no promises -- he actually has no promises from
     the Government. You know the only promise he has? That
     if he testifies truthfully, we might file a motion for
     downward departure. If you testify truthfully. Not if
     they convict.   I’m going to tell you right now, the
     Government is submitting to you the result of this trial
     has nothing whatsoever to do with whether these
     cooperators get a motion for downward departure. It has
     nothing –

     MR. MIRANDA:    Objection.

     THE COURT:    What’s the objection?

     MR. MIRANDA:    Vouching.

     THE COURT:    Overruled.

     MR. CONTRERAS: And that fact is in evidence. It has
     nothing to do with it whatsoever.       And even if the
     Government does file a motion for downward departure,
     it’s the judge that ultimately decides the sentence. The
     Government could file the motion, ask for time served,
     the judge can give life. Okay? Life. And I don’t want
     to belabor the point too much, but it has to be slammed
     home. The incentive in this case is to tell the truth.
     Not to lie. Any of those witnesses lie on that stand,
     they’re going to jail for life. That’s a huge incentive
     to tell the truth.
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(Docket No. 766 at 84-99).

       The transcript of the prosecutor’s closing rebuttal argument

shows that the government has not put the prestige of the United

States government behind the credibility of the witnesses, nor have

the prosecutors imparted personal belief in the veracity of the

government’s witnesses. Cf. United States v. Manning, 23 F.3d 570,

572-73 (1st Cir. 1994) (finding that the prosecutor’s comments that

a “prosecution witness cannot [lie]” and is “bound by the truth”,

and that the “prosecution must always be fair” were improper

witness-vouching).        It can sometimes be difficult to tell the

difference between a proper argument about the credibility of a

witness    and    improper     witness   vouching,    and   the   government’s

arguments regarding the witness’s “incentive to tell the truth”

(Docket No. 766 at 84) present a closer case than the government’s

other statements during rebuttal. In this context, the Court finds

the government’s statements to be proper because they were in

direct response to the defendants’ closing arguments that the

government’s witnesses lied at trial in order to satisfy the

demands of the government and obtain a reduced sentence. Moreover,

the comments made regarding the potential for a downward departure

for cooperators who testified were facts that came out at trial and

were in evidence before the jury.         See Rodriguez, 215 F.3d at 124-

125    (finding    that   government’s     arguments    did     not   constitute

improper witness vouching where they were a “proper response to
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defense arguments that [the witness] tailored his testimony to

please the prosecutors” and where “[t]he jury had in evidence the

agreements [the witness] made with the government, and those

agreements did provide that he could be punished if he testified

falsely.”)       The Court finds that the government did not engage in

improper    witness-vouching          during   its    rebuttal      argument,      and

therefore,    defendants’      motion     to   vacate      their   convictions      is

DENIED.

D.    The Government Did Not Disparage the Defendants’ Case

      The   defendants’       final     argument     is    that    the    government

“disparaged” the defendants’ case when it questioned “the marital

fidelity” of Nydia Cirino, defendant Diaz’s wife.                  (Docket No. 754

at 8.) The government responds that its comments “did not serve to

attack or disparage” defendant Diaz’s wife, but were simply a

response to the defendant’s summation.               (Docket No. 779 at 17.)         A

review of the record demonstrates that it was defense counsel who

brought up the fact that the government had inquired into the

fidelity of his client’s wife in his closing arguments.                   Moreover,

contrary    to    defendants’    assertions,         the   line    of    questioning

regarding the fidelity of defendant Diaz’s wife was in evidence, as

the witness was questioned about her relationships with other men

during cross-examination.             See Docket No. 720 at 89-91.                 The

government’s statements were in response to defendant’s statements,

they referenced information that was part of the record, and they
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did not “disparage” defendant’s case.             Therefore, defendants’

motion for a new trial on this basis is DENIED.

                               CONCLUSION

     The Court DENIES defendants’ motion for judgment of acquittal

and motion for a new trial.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, March 8, 2012.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       United States District Judge
